                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:                                                        Case No. 13-53846

CITY OF DETROIT, MICHIGAN,                                    Chapter 9

            Debtor.                                           Judge Thomas J. Tucker
_________________________________/

                     OPINION REGARDING THE RETIRED DETROIT
                     POLICE AND FIRE FIGHTERS ASSOCIATION’S
                    “MOTION FOR ENFORCEMENT OF SETTLEMENT
                    AND EIGHTH AMENDED PLAN OF ADJUSTMENT”

I. Introduction

         This case is before the Court on a motion filed by the Retired Detroit Police and Fire

Fighters Association (the “RDPFFA”), entitled “Motion for Enforcement of Settlement and

Eighth Amended Plan of Adjustment,” (Docket # 9414, the “Motion”). The City of Detroit filed

an objection to the Motion (Docket # 9571), and the RDPFFA filed a reply (Docket # 9765). The

Court held a hearing on May 6, 2015, and took the Motion under advisement.

         The dispute concerns the meaning and interplay of certain provisions in the Eighth

Amended Plan for the Adjustment of Debts of the City of Detroit (Docket # 8045, the “Plan”),

the Court’s November 11, 2014 Order confirming that Plan (Docket # 8272, the “Confirmation

Order”), and a “Term Sheet for Settlement” signed on April 25, 2014 by the City and the

RDPFFA (Docket # 9414, Ex. 6A, the “Term Sheet”). Based on its interpretation of these

documents, the RDPFFA seeks an order requiring the City to contribute an additional $140,000

per year to fund health care benefits for retired police officers who have become permanently

disabled in the line of duty.




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       The City objects to the Motion, arguing that it has no obligation to make such a

contribution under the relevant documents.

       For the reasons stated in this opinion, the Court agrees with the City, and will enter an

order denying the Motion.

II. Jurisdiction

       This Court has subject matter jurisdiction over this chapter 9 bankruptcy case and this

contested matter under 28 U.S.C. §§ 1334(b), 157(a) and 157(b)(1), and Local Rule 83.50(a)

(E.D. Mich.). This is a core proceeding under 28 U.S.C. § 157(b)(2)(O), because it is a

proceeding “affecting . . . the adjustment of the debtor-creditor . . . relationship.” This is also a

core proceeding under 28 U.S.C. § 157(b)(1), because it falls within the definition of a

proceeding “arising in” a case under title 11, within the meaning of 28 U.S.C. § 1334(b). Matters

falling within this category are deemed to be core proceedings. See Allard v. Coenen (In re

Trans-Indus., Inc.), 419 B.R. 21, 27 (Bankr. E.D. Mich. 2009)(citing Mich. Emp. Sec. Comm’n v.

Wolverine Radio Co., Inc., 930 F.2d 1132, 1144 (6th Cir. 1991)). As a proceeding that

purportedly seeks to enforce a confirmed Chapter 9 plan of adjustment, this is a proceeding

“arising in” a case under title 11, because it is a proceeding that “by [its] very nature, could arise

only in bankruptcy cases.” See Allard v. Coenen, 419 B.R. at 27.

       This dispute is a type over which this Court retained jurisdiction under the confirmed

Plan. Article VII, sections G, J, and O of the confirmed Plan state:

                Pursuant to sections 105(c), 945 and 1142(b) of the Bankruptcy
                Code and notwithstanding entry of the Confirmation Order and the
                occurrence of the Effective Date, the Bankruptcy Court will retain
                exclusive jurisdiction over all matters arising out of, and related to,



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                the Chapter 9 Case and the Plan to the fullest extent permitted by
                law, including, among other things, jurisdiction to:
                ....

                G.      Resolve any cases, controversies, suits or disputes that may
                        arise in connection with the consummation, interpretation
                        or enforcement of the Plan or any contract, instrument,
                        release or other agreement or document that is entered into
                        or delivered pursuant to the Plan or any Entity’s rights
                        arising from or obligations incurred in connection with the
                        Plan or such documents;
                ....

                J.      Adjudicate, decide or resolve any matters relating to the
                        City’s compliance with the Plan and the Confirmation
                        Order consistent with section 945 of the Bankruptcy Code;
                ....

                O.      Enforce or clarify any orders previously entered by the
                        Bankruptcy Court in the Chapter 9 Case . . . .

(Docket # 8045 at 69-70).

III. Background and undisputed facts

       A. The pre-confirmation settlement between the City and the RDPFFA

       The RDPFFA is not a labor union. It does, however, act “as an advocate for its

approximately 6,500 retired Detroit police and firefighter members,” and has done so for over

fifty years. (Docket # 9414 at 1). Thus, when the City began mediation with its various creditors

and creditor representatives to build a plan to resolve its chapter 9 case, the RDPFFA was

included in negotiations. Those negotiations concerned prepetition claims for pensions and other

post-employment benefits (“OPEB”), such as health insurance. On April 25, 2014, the RDPFFA

and the City reached an agreement regarding the treatment of the pension and OPEB claims of




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the RDPFFA’s members. This was the City’s first settlement in this bankruptcy case with a

group representing retired City workers.

       To memorialize the settlement, the parties signed the Term Sheet on April 25, 2014.

Among other things, the Term Sheet provided for relatively modest pension reductions for

members of the RDPFFA — no cuts to current pension amounts — but a 45% reduction in

annual cost-of-living increases, with the possibility of having those “COLA” increases restored

in the future under certain circumstances. But the Term Sheet provided for significant OPEB

reductions, in which City-sponsored health care coverage is replaced with a monthly stipend for

retirees to purchase their own policies on healthcare exchanges or elsewhere, through a structure

known as a Voluntary Employee Benefits Association, or VEBA. The City’s role in the VEBA

structure is to issue certain bonds, called “New B Notes” and “Excess New B Notes” in the Plan,

to the VEBA. The governing body of the VEBA is to manage and use the proceeds from these

Notes to pay retirees the monthly stipend.1

       In exchange for this treatment of its members’ claims, the RDPFFA agreed to prepare a

letter to its members advising them to vote in favor of the City’s plan, so long as the plan’s terms

were consistent with the Term Sheet.2

       The treatment of RDPFFA members’ claims reflected in the Term Sheet was incorporated

into the City’s Second Amended Plan and all subsequent iterations of the plan,3 as part of the

       1
       The City also agreed that the RDPFFA would appoint member(s) to the governing body of the
VEBA. (Docket # 9414, Ex. A at ¶ 4).
       2
           At this time, the Eighth Amended Plan had not yet been proposed.
       3
          See Docket # 4140 (Second Amended Plan, filed April 16, 2014); Docket # 4271 (Third
Amended Plan, filed April 25, 2014); Docket # 4392 (Fourth Amended Plan, filed May 5, 2014); Docket
# 6257 (Fifth Amended Plan, filed July 25, 2014); Docket # 6908 (Sixth Amended Plan, filed August 20,

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treatment of claims in Class 10 (police and firefighter pension claims) and Class 12 (all retiree

OPEB claims).4 Ultimately, the treatment of Class 12 claims in the Eighth Amended Plan

provided that the City will issue $232 million in New B Notes to the police and fire VEBA, plus

an additional portion of $42.68 million in Excess New B Notes resulting from certain other

settlements. (Plan at 37, 43 (article II, sections B.3.p.i.4. and B.3.s.ii.B., Docket #8045)).

        The RDPFFA urged its members to support the City’s plan, by writing and circulating the

letter described in the Term Sheet, and “in other ways as agreed in the Term Sheet.” (Docket

# 9414 at 2). Ultimately, the plan was accepted by 82% of the Class 10 members voting, and by

88% of the Class 12 members voting. The RDPFFA did not object to the treatment of its

members’ claims in Classes 10 and 12 at any point during the confirmation proceedings.

        Seven months after the City and the RDPFFA signed the Term Sheet, the Court

confirmed the Eighth Amended Plan, by entry of the Confirmation Order on November 11, 2014.

(Docket # 8272).

        B. The new collective bargaining agreement with the DFFA

        While the City worked toward confirmation of a plan of adjustment in this case, the City

also worked on negotiating new collective bargaining agreements with labor unions who

represent active City employees. Relevant to this Motion is the collective bargaining agreement

(“CBA”) the City reached with the Detroit Fire Fighters Association (the “DFFA”), which




2014); Docket # 7502 (Seventh Amended Plan, filed September 16, 2014); and Docket # 8045 (Eighth
Amended Plan, filed October 22, 2014).
        4
          Although all city retiree OPEB claims were included in Class 12, the Plan provides for two
separate VEBAs, one for police and fire retirees, and one for general city retirees.

                                                   5



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represents the City’s active firefighters. The new DFFA CBA is attached as Exhibit C to the

Motion. (Docket # 9414).

        The City entered into the new DFFA CBA on November 6, 2014. (See Docket # 9414,

Ex. 6C at 71). Among other things, that CBA provides for a “Disability Subsidy” for firefighters

“who are Totally and Permanently Disabled due to an injury incurred in the line of duty.” (Id. at

51).5 The City agreed to contribute an additional $140,000 per year to the police and fire VEBA,

which is to be separately accounted for, “to fund medical benefits for Totally and Permanently

Disabled members in the DFFA bargaining unit.” (Id. at 52).

        The new DFFA CBA limits eligibility for these benefits as follows:

                In order to be eligible for benefits pursuant to this section, an
                employee must be either (i) Totally and Permanently Disabled and
                drawing a duty disability pension as of the Effective Date of this
                Agreement, or (ii) become Totally and Permanently Disabled and
                draw a duty disability pension during the term of this Agreement.

(Id. at 53).

        According to statements made by counsel for the RDPFFA during the May 6 hearing, all

City retirees received health care coverage prior to the City’s chapter 9 case, meaning that before

the bankruptcy any sort of special medical benefits for retired, permanently duty-disabled retirees

would have been unnecessary. (Hrg. Tr. at 46-47, May 6, 2015, Docket # 9911).




        5
            In the CBA, the term “Disability Subsidy” is defined as the City’s annual $140,000
contribution. The phrase “Totally and Permanently Disabled” is defined as one of six types of injury,
including “i. Total and permanent loss of sight in both eyes. ii. Loss of either leg or foot at/or above the
ankle. iii. Loss of both arms or hands at/or above the wrist. iv. Loss of any two of the members or
facilities enumerated in (i) or (iii) above. v. Permanent and complete paralysis of both legs or arms, or
one leg and one arm. vi. Permanent and complete loss of facilities due to a persistent vegetative state.”
(Docket # 9414, Ex. 6C at 52).

                                                      6



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        It is undisputed that the DFFA specifically bargained for the Disability Subsidy in the

new CBA by making economic concessions.6 It is also undisputed that none of the labor unions

representing police officers did so, at least not successfully,7 nor did the RDPFFA successfully

negotiate for any disability benefits in its mediation with the City. Finally, it is undisputed that

the City’s obligation under the Plan to provide $232 million in New B Notes (plus a portion of

$42.68 million in Excess New B Notes) to the police and fire VEBA did not change with the

execution of the new DFFA CBA. Nevertheless, in bringing the Motion, the RDPFFA asks that

the City be required to provide an additional $140,000 per year to fund health care benefits for

retired, permanently duty-disabled police officers.




        6
          The record does not reflect exactly what concessions were given in exchange for the Disability
Subsidy; however, article 24, section A.4 of the new DFFA CBA states:

                The DFFA acknowledges that, as an express quid pro quo for the receipt
                of a 7.5% wage increase . . . a one-time bonus on December 1, 2014 and
                July 1, 2015, and the 1% retiree medical subsidy [the Disability
                Subsidy], that the DFFA has agreed to: (a) elimination of any
                requirement that the Department maintain 135 Sergeant positions and
                creation of a Department right to reduce the number of Sergeants; (b)
                elimination of Super Duper Kelly Days; (c) elimination of the additional
                furlough day granted to members with over twenty-three (23) years of
                service; (d) reduction in the number of holidays and reduction in the
                holiday premium; (3) creation of the City’s right to pay out annually
                accumulated sick time in excess of one thousand (1,000) hours at 85%;
                (f) elimination of mileage reimbursement; (g) elimination of the
                retention bonus based upon DFFA’s portion of the public safety
                retention bonus; and (h) forego a 2% lump sum payment effective
                January 1, 2015 and a 1% lump sum payment effective July 1, 2015.

(Docket # 9414, Ex. 6C at 45).
        7
          See generally, Docket # 9571, Ex. B, “Master Agreement between the City of Detroit and the
Detroit Police Officers Association, 2014-2019;” Ex. C, “Master Agreement between the City of Detroit
and the Detroit Police Lieutenants and Sergeants Association, 2014-2019;” Ex. D, “Master Agreement
between the City of Detroit and the Detroit Police Command Officers Association.”

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        C. The RDPFFA’s argument, based on paragraph 8 of the Term Sheet and
           paragraph 69 of the Confirmation Order

        The substantive basis for the RDPFFA’s request is paragraph 8 of the April 25, 2014

Term Sheet, which states:

                Police and firefighter retirees are entitled to the benefits of any
                other agreement entered into by the City of Detroit that covers such
                retired police and firefighters and which is more advantageous to
                them than the terms of this agreement as it relates to Classes 10
                (PFRS Pensions) and 12 (OPEB).

(Docket #9414, Ex. 6A).

        The RDPFFA argues that this provision in the Term Sheet means that whatever benefits

the City later (in November 2014) agreed to provide for duty-disabled firefighter retirees in the

new DFFA CBA, the City now is also required to provide for duty-disabled police retirees. The

RDPFFA contends that paragraph 8 of the Term Sheet was key to the settlement, because the

RDPFFA “was adamant and demanded assurances that its members would not be prejudiced by

being the first to agree to terms with the City.” (Docket # 9765 at 2).

        The RDPFFA acknowledges that the language of Paragraph 8 of the Term Sheet is not

expressly included in the Plan, unlike the substantive claim treatment provisions of the Term

Sheet,8 and that the RDPFFA did not object to the Paragraph 8 provision being left out of the

Plan during the confirmation process. Rather, to support its argument that paragraph 8 of the




        8
            Paragraphs 1, 2, and 3 of the Term Sheet set forth the treatment of pension claims for RDPFFA
members (including the COLA reduction, terms of a possible COLA restoration, and new governance
structures for the Police and Fire Retirement System), and these terms are reflected in the Plan in article
II, section B.3.q.ii (pages 38-39), and Plan Exhibit II.B.3.q.ii.C. (Docket # 8045). Paragraph 4 of the
Term Sheet sets forth the treatment of OPEB claims for RDPFFA members, and it is reflected in the Plan
in article II, section B.3.s.ii.B (pages 42-44).

                                                    8



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Term Sheet remains binding on the City, the RDPFFA relies on paragraph 69 of the

Confirmation Order, which states in pertinent part:

                Effective as of the Confirmation Date, but subject to the
                occurrence of the Effective Date and subject to the terms of the
                Plan and this Order, all prior orders entered in the Chapter 9 Case,
                all documents and agreements executed by the City as
                authorized and directed thereunder and all motions or requests
                for relief by the City pending before the Court as of the Effective
                Date shall be binding upon and shall inure to the benefit of the
                City and any other parties expressly subject thereto.

(Docket # 8272 at 114)(emphasis added). The RDPFFA contends that the Term Sheet is an

“agreement executed by the City as authorized and directed [under Court order],” and thus

remains binding on the City, even though the terms of ¶ 8 of the Term Sheet are not expressly

included in the Plan. According to the RDPFFA, the Term Sheet was “authorized and directed”

by this Court’s First Order Referring Matters to Facilitative Mediation (Docket # 333). That

Order referred to mediation, among other things, the treatment of claims and renegotiation of

collective bargaining agreements.

IV. Discussion

       The City disputes the RDPFFA’s position, on a number of grounds. For the following

reasons, the Court agrees with the City. The Court concludes that the City has no obligation to

contribute an additional $140,000 per year to fund health care benefits for retired police officers

who have become permanently disabled in the line of duty.

       First, contrary to the RDPFFA’s argument, the terms of ¶ 8 of the April 25, 2014 Term

Sheet were not incorporated into or made a part of the Plan. Nor did the Term Sheet survive

confirmation of the Plan.



                                                 9



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       The provisions of Term Sheet ¶ 8 are not expressly included anywhere in the Plan, or in

the Confirmation Order. Nor does the Plan or the Confirmation Order incorporate those

provisions by reference. In arguing otherwise, the RDPFFA relies only on ¶ 69 of the

Confirmation Order, quoted above, but that reliance is misplaced. In pertinent part, ¶ 69

provides that “all prior orders entered in the Chapter 9 Case, [and all] documents and agreements

executed by the City as authorized and directed thereunder . . . shall be binding upon and shall

inure to the benefit of the City and any other parties expressly subject thereto.” While the Term

Sheet is an “agreement executed by the City” within the meaning of ¶ 69, that agreement was not

“authorized and directed” under any “prior orders entered in the Chapter 9 Case” within the

meaning of ¶ 69.

       The RDPFFA does not identify any “prior order” entered in this case before entry of the

Confirmation Order that either “authorized” or “directed” the City to execute the Term Sheet.

Contrary to the RDPFFA’s argument, the Court’s August 16, 2013 mediation order is not such a

“prior order.” That mediation order, entitled “First Order Referring Matters to Facilitative

Mediation” (Docket # 333), did nothing more than refer “to Chief District Judge Gerald Rosen

for facilitative mediation” the “following matters”: “1. [t]he treatment of the claims of the

various creditor classes in a plan of adjustment;” and “2. [t]he negotiation and renegotiation of

collective bargaining agreements.” As such, that mediation order did not “authorize” or “direct”

the City to execute any agreement, and in particular it did not authorize or direct the City to

execute the Term Sheet. The mediation order and ¶ 69 of the Confirmation Order are

unambiguous in this respect.




                                                 10



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        As discussed further below, the Term Sheet, and in particular ¶ 8 of the Term Sheet,

solely concerned the treatment of the claims of retired police and retired firefighters in Classes 10

and 12 of the Plan. But because the terms of ¶ 8 of the Term Sheet, unambiguously, were not

incorporated into or made part of the confirmed Plan, those terms did not survive the

confirmation of the Plan. After the Court entered the Confirmation Order on November 11,

2014, and the confirmed Plan became effective on December 10, 2014, only the Plan, and not the

Term Sheet, governed the treatment of Classes 10 and 12. As the Sixth Circuit has held,

                In interpreting a confirmed plan, courts use contract principles,
                since the plan is effectively a new contract between the debtor
                and its creditors. State law governs those interpretations, and
                under long-settled contract law principles, if a plan term is
                unambiguous, it is to be enforced as written, regardless of
                whether it is in line with parties’ prior obligations.

Official Comm. of Unsecured Creditors v. Dow Corning Corp. (In re Dow Corning Corp.), 456

F.3d 668, 676 (6th Cir. 2006)(emphasis added)(citations omitted).

        Second, the Court concludes that even if it were part of the Plan, or somehow survived

confirmation of the Plan, ¶ 8 of the Term Sheet would not entitle the RDPFFA to the relief it

seeks in the Motion.

        It is undisputed that the RDPFFA was the first group to reach an agreement with the City

regarding the treatment of Class 10 and 12 claims. But not all retired police and retired

firefighters were members of the RDPFFA.9 And retired police and retired firefighters were not




        9
           The RDPFFA previously has stated that “[a]pproximately 6,500 of an estimated 7,800
‘uniformed’ retirees of the City of Detroit (i.e., retirees who were employed as police officers or fire
fighters) are members of the RDPFFA.” (Decl. of Donald Taylor in Supp. of Consolidated Objection of
the Retiree Association Parties to Eligibility at ¶ 3, Ex. B to Docket # 497).

                                                   11



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the only creditors included in Classes 10 and 12.10 If other individuals or groups later negotiated

an agreement that would provide better treatment in the City’s plan of retired police and retired

firefighters Class 10 and Class 12 claims, the RDPFFA wanted assurance that its members also

would receive the benefit of such enhanced plan treatment. In that event, the RDPFFA did not

want its members to be bound by the Term Sheet to a less favorable treatment, just because the

RDPFFA was the first group to reach agreement with the City.

        That, and nothing more, is the only reasonable interpretation of ¶ 8 of the Term Sheet,11

because ¶ 8 clearly is limited in its scope to the treatment of prepetition Class 10 and Class 12

claims in the City’s plan. This is clear from the phrase at the end of ¶ 8, which unambiguously

qualifies and limits the types of agreements covered by ¶ 8:

                 Police and firefighter retirees are entitled to the benefits of any
                 other agreement entered into by the City of Detroit that covers such
                 retired police and firefighters and which is more advantageous to
                 them than the terms of this agreement as it relates to Classes 10
                 (PFRS Pensions) and 12 (OPEB).


        10
            Retired police and retired firefighters are some of the creditors, but not the only creditors,
with claims treated in Classes 10 and 12 of the City’s plan. Class 10, named in the Plan as “PFRS
Pension Claims,” includes prepetition claims of “current or former employees of the City” and their heirs
or beneficiaries, for pension or disability benefits under the Police and Fire Retirement System of the
City of Detroit (“PFRS”). Class 12 of the Plan, entitled “OPEB Claims,” includes prepetition claims of
current and former employees for other post-employment benefits, such as health insurance, and the
creditors in Class 12 include not only retired police and retired firefighters but also other retirees,
including those with pension claims under the City’s General Retirement System in Class 11 of the Plan.
Thus, the prepetition claims of retired police and retired firefighters were part of, but not the entirety of,
Classes 10 and 12 of the Plan.
        11
            In discussing the interpretation of a confirmed Chapter 11 plan in Dow Corning, the Sixth
Circuit held that “[a] term is deemed ambiguous when it is ‘capable of more than one reasonable
interpretation.’” 456 F.3d at 676 (quoting Miller v. United States, 363 F.3d 999, 1004 (9th Cir.2004)).
But the court also held that “[a]lthough the interpretation of [a] plan of reorganization is analogous in
many respects to the construction of a contract, we remain mindful that the law of this circuit requires
that we review a bankruptcy court’s interpretation of its own decisions with significant deference.” Id.
(citing Terex Corp. v. Metro. Life Ins. Co. (In re Terex Corp.), 984 F.2d 170, 172 (6th Cir. 1993)).

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(Term Sheet ¶ 8)(emphasis added).

        The new “Disability Subsidy,” which the DFFA negotiated in its November 6, 2014 CBA

with the City, is not part of the treatment of the prepetition claims in either Class 10 or Class 12

of the Plan. That CBA is in effect through June 30, 2019.12 In that CBA, the DFFA, representing

active firefighters, made a package of economic concessions in partial exchange for the City’s

agreement to contribute $140,000 per year to fund medical benefits only for firefighters who are

“totally and permanently disabled due to an injury incurred in the line of duty.” Unlike the

DFFA, the City’s police unions did not negotiate such a benefit for police officers in their CBAs

with the City. It is undisputed that in this way, the economic give-and-take in the DFFA’s new

CBA was different from that in the City’s new CBAs with the Detroit Police Officers

Association (“DPOA”), the Detroit Police Lieutenants and Sergeants Association (“DPLSA”),

and the Detroit Police Command Officers Association (“DPCOA”).13

        This new “Disability Subsidy” benefit in the DFFA’s CBA is not part of the treatment of

either Class 10 or Class 12 claims, which are prepetition claims, in the Plan.14 The RDPFFA has

cited nothing in the Plan, the Confirmation Order, or the DFFA CBA suggesting otherwise. This

“Disability Subsidy” benefit in the CBA, therefore, clearly was not a benefit of the type described

in ¶ 8 of the Term Sheet — the CBA did not provide anything “more advantageous” to police




        12
             See DFFA CBA (Docket # 9414, Ex. 6C) at 61, ¶ 56.
        13
           See the City’s objection (Docket # 9571) at ¶¶ 21, 22, and the police unions’ CBAs attached to
the City’s objection as Exhibits B, C, and D.
        14
             Nor was the DFFA CBA incorporated into the confirmed Plan.

                                                   13



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and firefighter retirees than the Term Sheet did “as it relates to Classes 10 (PFRS Pension) and

12 (OPEB).”

        Other wording in ¶ 8 of the Term Sheet also shows that the DFFA CBA was not an

agreement to which ¶ 8 applies. In order to apply to an “other” and “more advantageous”

agreement, ¶ 8 requires such other agreement to be one “that covers such retired police and

firefighters.” This language means that the other more advantageous agreement must apply to

both retired police and retired firefighters in order for ¶ 8 to apply. That makes sense with

respect to the treatment of Classes 10 and 12 in the Plan, because the prepetition claims of both

retired police and retired firefighters were included in Classes 10 and 12 of the Plan. But the

CBA between the City and the DFFA, the union representing the active firefighters, is clearly not

an agreement that “covers such retired police and firefighters” within the meaning of Term Sheet

¶ 8. The DFFA CBA did not provide the new “Disability Subsidy” to both retired police and

retired firefighters, but only to firefighters.

        This further confirms that the City’s new CBA with the DFFA, with its new “Disability

Subsidy” benefit for firefighters who are totally and permanently disabled in the line of duty, is

not an “other agreement” of the type covered by ¶ 8 of the Term Sheet.

        For all of these reasons, the Court agrees with the City’s characterization of ¶ 8 of the

Term Sheet, contained in the City’s response to the RDPFFA’s Motion:

                Paragraph 8 of the Term Sheet was not specifically incorporated
                into the Plan because it contained no substantive plan terms, but
                only contemplated the possibility that groups could negotiate
                enhanced plan treatment of Class 10 and 12 claims. Consistent
                with the Term Sheet, any applicable enhancements to the treatment
                would have been incorporated into the Plan, which governs the
                treatment of claims in those classes. Because there were no other


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               agreements reached that related to the substantive treatment of
               Classes 10 and 12, paragraph 8 of the Term Sheet has no further
               relevance.

(Docket # 9571, at 8, ¶ 15).

       Thus, even if ¶ 8 of the Term Sheet had survived confirmation of the Plan, it would not

support the relief sought by the RDPFFA.

V. Conclusion

       For the reasons stated in this opinion, the Court will enter an order denying the

RDPFFA’s Motion.


Signed on June 26, 2015                              /s/ Thomas J. Tucker
                                                     Thomas J. Tucker
                                                     United States Bankruptcy Judge




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